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                               UNITED STATE DISTRICT COURT
 1
                             WESTERN DISTRICT OF WASHINGTON
 2                                      AT SEATTLE

 3      SHILO HAMACHER,
 4
                                    Plaintiff,         CIVIL CASE NO. 2:12-cv-02025
 5      v.
                                                       VOLUNTARY DISMISSAL
 6      GC SERVICES, LP.,
 7
                                     Defendant.
 8
 9                         VOLUNTARY DISMISSAL WITH PREJUDICE

10           Plaintiff, SHILO HAMACHER, by and through his attorneys, KROHN & MOSS, LTD.,
11
     hereby voluntarily dismisses the above-entitled case with prejudice.
12
13
14                                                Respectfully Submitted,
15
16   DATED: March 4, 2013                         KROHN & MOSS, LTD.

17                                        By: /s/ Sharon Cousineau
                                                 Sharon Cousineau, Esq.
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26
27   Voluntary Dismissal                                                       Cousineau Law Group
                                                                            700 West Evergreen Blvd.
28                                                                             Vancouver, WA 98660
                                                                                      (971) 207-5140
       Case 2:12-cv-02025-MJP Document 7 Filed 03/04/13 Page 2 of 2




                                     CERTIFICATE OF SERVICE
 1
 2   I hereby certify that on March 4, 2013, I electronically filed the foregoing Notice of Voluntary

 3   Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was
 4
     electronically submitted to all parties by the Court’s CM/ECF system.
 5
 6                                                        By:/s/ Sharon Cousineau
                                                            Sharon Cousineau, Esq.
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27   Voluntary Dismissal                                                         Cousineau Law Group
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